     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 1 of 32



                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

LEAGUE OF UNITED LATIN AMERICAN              §
CITIZENS, SOUTHWEST VOTER                    §
REGISTRATION EDUCATION PROJECT, MI           §
FAMILIA VOTA,AMERICAN GI FORUM, LA           §
UNION DEL PUEBLO ENTERO, MEXICAN             §
AMERICAN BAR ASSOCIATION OF TEXAS,           §
TEXAS HISPANICS ORGANIZED FOR                §
POLITICAL EDUCATION, WILLIAM C.              §
VELASQUEZ INSTITUTE, FIEL HOUSTON            §
INC., TEXAS ASSOCIATION OF LATINO            §
ADMINISTRATORS AND SUPERINTENDENTS,          §
EMELDA MENENDEZ, GILBERTO                    §
MENENDEZ, JOSE OLIVARES, FLORINDA            §
CHAVEZ, AND JOEY CARDENAS,                   §   Case No. 3:21-cv-00259
                                             §
                 Plaintiffs,                 §
V.                                           §
                                             §
                                             §
GREG ABBOTT, in his official capacity as     §
Governor of Texas; JOHN SCOTT, in his        §
official capacity as Secretary of State of   §
Texas,                                       §
                                             §
                 Defendants.                 §



                       DEFENDANTS’ MOTION TO DISMISS,
                FOR A MORE DEFINITE STATEMENT, OR TO STRIKE
      Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 2 of 32



                                                                 TABLE OF CONTENTS

Table of Contents .............................................................................................................................................. ii
Index of Authorities ......................................................................................................................................... iii
Introduction ........................................................................................................................................................ 1
Standard............................................................................................................................................................... 1
Argument ............................................................................................................................................................ 2
I.           Plaintiffs Have Not Plausibly Alleged Standing .............................................................................. 2
             A. The Plaintiff Organizations Lack Associational Standing ....................................................... 2
             B. The Individual Plaintiffs Also Lack Standing ........................................................................... 5
II.          Each of Plaintiffs’ Claims Fails as a Matter of Law ........................................................................ 6
             A. The Court Should Dismiss Plaintiffs’ One-Person-One-Vote Claims.................................. 6
                          1.           This Court Lacks Jurisdiction to Consider the Old Maps .................................. 7
                          2.           Plaintiffs Have Not Plausibly Alleged that the New House Map
                                       Violates the One-Person-One-Vote Principle ...................................................... 7
             B. The Court Should Dismiss Plaintiffs’ Section 2 Effects Claim .............................................. 9
                          1.           Plaintiffs’ Section 2 Effects Claim Fails on the Merits ........................................ 9
                          2.           Section 2 Does Not Give Plaintiffs an Implied Private Cause of
                                       Action .......................................................................................................................16
             C. The Court Should Dismiss Plaintiffs’ Intentional-Discrimination Claims .........................19
                          1.           Lack of Discriminatory Effect Precludes Intentional-Discrimination
                                       Claims .......................................................................................................................20
                          2.           Plaintiffs Have Not Plausibly Alleged Discriminatory Intent ..........................20
Conclusion ........................................................................................................................................................23




                                                                                   ii
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 3 of 32



                                                          INDEX OF AUTHORITIES

                                                                                                                                                Page(s)

Cases

Abbott v. Perez,
   138 S. Ct. 2305 (2018) (Thomas, J. concurring) ............................................................................ 14, 22

Ala. Legislative Black Caucus v. Alabama,
    575 U.S. 254 (2015)...............................................................................................................................7, 14

Alexander v. Sandoval,
   532 U.S. 275 (2001)...................................................................................................................... 18, 19, 20

Allen v. State Bd. of Elections,
    393 U.S. 544 (1969)................................................................................................................................... 20

Alsbrook v. City of Maumelle,
    184 F.3d 999 (8th Cir. 1999) (en banc) .................................................................................................. 19

Anne Harding v. County of Dallas,
   948 F.3d 302 (5th Cir. 2020).................................................................................................................... 12

Ashcroft v. Iqbal,
   556 U.S. 662 (2009).................................................................................................................. 2, 10, 12, 22

Ass’n for Retarded Citizens of Dall. v. Dall. Cty. Mental Health & Retardation Ctr. Bd. of
    Trs.,
    19 F.3d 241 (5th Cir. 1994) ........................................................................................................................ 4

Baca v. Berry,
    806 F.3d 1262 (10th Cir. 2015) ................................................................................................................. 9

Bartlett v. Strickland,
    556 U.S. 1 (2009) ................................................................................................................................ 12, 14

Bell Atl. Corp. v. Twombly,
     550 U.S. 544 (2007)............................................................................................................................. passim

Benavidez v. Irving Indep. Sch. Dist.,
    690 F. Supp. 2d 451 (N.D. Tex. 2010) ................................................................................................... 11

Bethune-Hill v. Va. State Bd. of Elections,
    137 S. Ct. 788 (2017)................................................................................................................................... 7

Brecht v. Abrahamson,
    507 U.S. 619 (1993)................................................................................................................................... 17
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 4 of 32



Brnovich v. Democratic Nat’l Comm.,
    141 S. Ct. 2321 (2021) (Gorsuch, J., concurring) ................................................................................. 17

California v. Sierra Club,
    451 U.S. 287 (1981)................................................................................................................................... 20

Chisom v. Roemer,
    501 U.S. 380 (1991) (Scalia, J., dissenting)............................................................................................. 21

City of Lockhart v. United States,
    460 U.S. 125 (1983)................................................................................................................................... 16

City of Mobile v. Bolden,
    446 U.S. 55 (1980) ..................................................................................................................................... 17

Clapper v. Amnesty Int’l USA,
    568 U.S. 398 (2013)................................................................................................................................. 7, 8

Conley v. Gibson,
   355 U.S. 41 (1957) .................................................................................................................................2, 12

Conservation Force v. Delta Air Lines, Inc.,
   190 F. Supp. 3d 606 (N.D. Tex. 2016) ............................................................................................ 19, 20

Conservation Force v. Delta Air Lines, Inc.,
   682 F. App’x 310 (5th Cir. 2017) ..................................................................................................... 19, 20

Cooper Indus., Inc. v. Aviall Servs., Inc.,
   543 U.S. 157 (2004)................................................................................................................................... 17

Ctr. for Biological Diversity v. EPA,
    937 F.3d 533 (5th Cir. 2019)...................................................................................................................... 4

Delancey v. City of Austin,
    570 F.3d 590 (5th Cir. 2009).................................................................................................................... 20

DiMaio v. Democratic Nat’l Comm.,
   520 F.3d 1299 (11th Cir. 2008) (per curiam)........................................................................................... 6

Disability Rights Wis., Inc. v. Walworth Cty. Bd. of Supervisors,
    522 F.3d 796 (7th Cir. 2008)...................................................................................................................... 5

Draper v. Healey,
   827 F.3d 1 (1st Cir. 2016) (Souter, J.)....................................................................................................... 5

Evenwel v. Abbott,
   136 S. Ct. 1120 (2016) ............................................................................................................................ 8, 9




                                                                             iv
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 5 of 32



Faculty, Alumni, & Students Opposed to Racial Preferences v. New York Univ.,
    11 F.4th 68 (2d Cir. 2021) .......................................................................................................................... 5

Friends of the Earth, Inc. v. Chevron Chem. Co.,
    129 F.3d 826 (5th Cir. 1997)...................................................................................................................... 4

Funeral Consumers All., Inc. v. Serv. Corp. Int’l,
   695 F.3d 330 (5th Cir. 2012)...................................................................................................................... 4

Ga. Republican Party v. SEC,
    888 F.3d 1198 (11th Cir. 2018) ................................................................................................................. 5

Gallagher v. New York State Bd. of Elections,
    496 F. Supp. 3d 842 (S.D.N.Y. 2020)....................................................................................................... 6

Georgia v. Ashcroft,
   539 U.S. 461 (2003)................................................................................................................................... 16

Gill v. Whitford,
    138 S. Ct. 1916 (2018) ....................................................................................................................... 4, 6, 7

Gonzaga Univ. v. Doe,
   536 U.S. 273 (2002)................................................................................................................................... 19

Gonzalez v. Harris County,
   601 F. App’x 255 (5th Cir. 2015) (per curiam) ..................................................................................... 13

Growe v. Emison,
   507 U.S. 25 (1993) .............................................................................................................................. 11, 13

Hall v. Virginia,
   385 F.3d 421 (4th Cir. 2004).................................................................................................................... 13

Hancock Cty. Bd. of Supervisors v. Ruhr,
   487 F. App’x 189 (5th Cir. 2012) .............................................................................................................. 5

Harris v. Ariz. Indep. Redistricting Comm’n,
   578 U.S. 253 (2016)..................................................................................................................................... 9

Holder v. Hall,
   512 U.S. 874 (1994) (Thomas, J., concurring in the judgment)................................................... 14, 16

Hunt v. Wash. St. Apple Adver. Comm’n,
   432 U.S. 333 (1977)............................................................................................................................ 3, 4, 5

J.I. Case Co. v. Borak,
     377 U.S. 426 (1964)............................................................................................................................ 18, 20




                                                                             v
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 6 of 32



Johnson v. De Grandy,
    512 U.S. 997 (1994)............................................................................................................................ 12, 14

League of United Latin Am. Citizens, Council No. 4434 v. Clements,
   999 F.2d 831 (5th Cir. 1993) (en banc) .................................................................................................. 14

League of Women Voters of Michigan v. Johnson,
   No. 2:17-cv-14148, 2018 WL 10483517 (E.D. Mich. May 16, 2018) .................................................. 7

Logan v. U.S. Bank Nat’l Ass’n,
   722 F.3d 1163 (9th Cir. 2013) ................................................................................................................. 18

Lujan v. Defs. of Wildlife,
    504 U.S. 555 (1992)..................................................................................................................................... 8

LULAC v. Abbott,
  369 F. Supp. 3d 768 (W.D. Tex. 2019) .................................................................................................. 14

LULAC v. Abbott,
  951 F.3d 311 (5th Cir. 2020) (Smith, J.) ................................................................................................. 14

LULAC v. Clements,
  986 F.2d 728 (5th Cir. 1993).................................................................................................................... 13

LULAC v. NE Ind. Sch. Dist.,
  903 F. Supp. 1071 (W.D. Tex. 1995)...................................................................................................... 21

Miller v. Johnson,
    515 U.S. 900 (1995)................................................................................................................................... 22

Mo. Prot. & Advocacy Services, Inc. v. Carnahan,
   499 F.3d 803 (8th Cir. 2007)...................................................................................................................... 4

Morse v. Republican Party of Va.,
   517 U.S. 186 (1996) (minority opinion of Stevens, J.) ......................................................................... 19

N.E. Ohio Coal. for Homeless v. Blackwell,
   467 F.3d 999 (6th Cir. 2006)...................................................................................................................... 3

NAACP v. City of Kyle,
  626 F.3d 233 (5th Cir. 2010).................................................................................................................. 4, 6

Nestle Ice Cream Co. v. NLRB,
    46 F.3d 578 (6th Cir. 1995) ........................................................................................................................ 4

NLRB v. Fruit & Vegetable Packers & Warehousemen, Local 760,
  377 U.S. 58 (1964) ..................................................................................................................................... 24




                                                                             vi
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 7 of 32



Palmer v. Thompson,
    403 U.S. 217 (1971)................................................................................................................................... 21

Pers. Adm’r of Mass. v. Feeney,
    442 U.S. 256 (1979)...................................................................................................................... 22, 23, 24

Rodriguez v. Harris County,
   964 F. Supp. 2d 686 (S.D. Tex. 2013) ............................................................................................. 13, 21

Rodriguez v. Popular Democratic Party,
   457 U.S. 1 (1982) ....................................................................................................................................... 19

Shaw v. Reno,
   509 U.S. 630 (1993)............................................................................................................................ 21, 24

Shelby County v. Holder,
    570 U.S. 529 (2013)................................................................................................................................... 16

Sinkfield v. Kelley,
    531 U.S. 28 (2000) (per curiam) ................................................................................................................ 7

Stokes v. Sw. Airlines,
    887 F.3d 199 (5th Cir. 2018)............................................................................................................. 18, 20

Summers v. Earth Island Inst.,
   555 U.S. 488 (2009)..................................................................................................................................... 4

Tex. Indigenous Council v. Simpkins,
    No. 5:11-cv-315, 2014 WL 252024 (W.D. Tex. Jan. 22, 2014) ............................................................ 4

Thornburg v. Gingles,
    478 U.S. 30 (1986) ............................................................................................................................... passim

Touche Ross & Co. v. Redington,
    442 U.S. 560 (1979)................................................................................................................................... 20

Turner v. Arkansas,
   504 U.S. 952 (1992)................................................................................................................................... 21

Turner v. Arkansas,
   784 F. Supp. 553 (E.D. Ark. 1991) ......................................................................................................... 21

United States v. Hays,
   515 U.S. 737 (1995)...............................................................................................................................7, 24

United States v. O’Brien,
   391 U.S. 367 (1968)................................................................................................................................... 21




                                                                             vii
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 8 of 32



Valdespino v. Alamo Heights Indep. Sch. Dist.,
   168 F.3d 848 (5th Cir. 1999).................................................................................................................... 11

Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,
    429 U.S. 252 (1977)............................................................................................................................ 22, 23

Voinovich v. Quilter,
   507 U.S. 146 (1993)..................................................................................................................................... 9

Warth v. Seldin,
   422 U.S. 490 (1975)..................................................................................................................................... 3

White v. Regester,
   412 U.S. 755 (1973)..................................................................................................................................... 9

Yazzie v. Hobbs,
   977 F.3d 964 (9th Cir. 2020) (per curiam) ............................................................................................... 6

Ziglar v. Abbasi,
    137 S. Ct. 1843 (2017) ....................................................................................................................... 18, 20

Statutes

52 U.S.C.
   § 10301(a) ...................................................................................................................................... 11, 18, 19
   § 10301(b) ............................................................................................................................................ 11, 15
   § 10304 ........................................................................................................................................................ 16
   § 10308 ........................................................................................................................................................ 19

Other Authorities

Tex. Const. art. III, § 40.................................................................................................................................. 22

Fed. R. Civ. P. 12(b)(6).................................................................................................................................... 13

Fed. R. Civ. P. 12(e) ......................................................................................................................................... 10

Fed. R. Civ. P. 12(f) ......................................................................................................................................... 16

Fed. R. Evid. 201(b)(2) .................................................................................................................................... 10




                                                                                viii
   Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 9 of 32




                                               INTRODUCTION

        In this redistricting case, Plaintiffs have not alleged which districts they challenge. Their

conclusory complaint does not even identify the voters whose rights supposedly support associational

standing or disclose the districts in which those voters live. Plaintiffs have not given Defendants fair

notice of their claims or the grounds upon which they rest.

        These ambiguities and omissions infect every part of the case. Beginning with jurisdiction,

Plaintiffs lack Article III standing because they have not identified any allegedly affected voters and

because they have omitted the “district-by-district” allegations required by Supreme Court precedent.

On the merits, Plaintiffs attempt to challenge unspecified districts by simply reciting the elements of

their claims, often quoting or paraphrasing caselaw, without alleging any underlying facts.

        If Plaintiffs are allowed to proceed on their current complaint, it will needlessly multiply

proceedings and waste both the parties’ and the Court’s resources. Defendants respectfully move the

Court to dismiss the current complaint and require any amended complaint to allege the facts

necessary to efficiently litigate this case.

                                                STANDARD

        A plaintiff must “give the defendant fair notice of what the claim is and the grounds upon

which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (quoting Conley v. Gibson, 355 U.S.

41, 47 (1957)). “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

more than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Id. at 555. “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Twombly, 550 U.S. at 570). “Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Id.




                                                      1
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 10 of 32



                                              ARGUMENT

I.      Plaintiffs Have Not Plausibly Alleged Standing

        This Court should dismiss for lack of subject-matter jurisdiction because Plaintiffs do not have

Article III standing. The Entity Plaintiffs have not plausibly alleged facts supporting associational

standing. They have not even identified the voters whose rights are at issue or alleged the districts in

which those voters live. And the Individual Plaintiffs have not even alleged that they intend to vote.

In any event, even if some plaintiff had standing, it would permit only district-specific challenges, not

statewide challenges to each redistricting map as a whole.

        A.      The Plaintiff Organizations Lack Associational Standing

        The Entity Plaintiffs have not plausibly alleged associational standing. Although “an

association may have standing solely as the representative of its members,” this doctrine “does not

eliminate or attenuate the constitutional requirement of a case or controversy.” Warth v. Seldin, 422

U.S. 490, 511 (1975). Accordingly, courts apply a three-part test: “(a) [the association’s] members

would otherwise have standing to sue in their own right; (b) the interests [the association] seeks to

protect are germane to the organization’s purpose; and (c) neither the claim asserted nor the relief

requested requires the participation of individual members in the lawsuit.” Hunt v. Wash. St. Apple

Adver. Comm’n, 432 U.S. 333, 343 (1977).

        As a threshold matter, the Entity Plaintiffs have not established that they have members at all.

SVREP, Mi Familia Vota, and WCVI do not claim to have members. See ECF 1 at ¶¶ 12–13, 18. Those

organizations allegedly work with or serve certain voters, but the beneficiaries of a plaintiff’s services

do not qualify as “members” for purposes of associational standing. “[S]tanding on behalf of the group

served by [an] organization” would be “a form of representational standing never recognized by any

court.” N.E. Ohio Coal. for Homeless v. Blackwell, 467 F.3d 999, 1010 n.4 (6th Cir. 2006).

        The remaining Entity Plaintiffs—LULAC, American GI Forum, LUPE, MABA-TX, Texas



                                                    2
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 11 of 32



HOPE, FIEL, and TALAS—each claim to be a “membership organization,” but they do not allege

any facts supporting that conclusion. ECF 1 at ¶¶ 11, 14–17, 19–20. The question is not whether an

entity describes itself as having members but whether those purported members “possess all of the

indicia of membership in an organization.” Hunt, 432 U.S. at 344. Under that inquiry, individuals may

support associational standing only if they “elect leadership, serve as the organization’s leadership, and

finance the organization’s activities, including the case’s litigation costs.” Funeral Consumers All., Inc. v.

Serv. Corp. Int’l, 695 F.3d 330, 344 (5th Cir. 2012) (citing Hunt, 432 at 344-45); see also Tex. Indigenous

Council v. Simpkins, No. 5:11-cv-315, 2014 WL 252024, at *3 (W.D. Tex. Jan. 22, 2014).

        Courts “apply the Hunt ‘indicia of membership’ test” when determining whether an

organization has “members” whose interests it can represent in federal court. Friends of the Earth, Inc.

v. Chevron Chem. Co., 129 F.3d 826, 829 (5th Cir. 1997); see, e.g., Mo. Prot. & Advocacy Services, Inc. v.

Carnahan, 499 F.3d 803, 810 (8th Cir. 2007); Nestle Ice Cream Co. v. NLRB, 46 F.3d 578, 586 (6th Cir.

1995). The organization must “provide[] the means by which [its purported members] express their

collective views and protect their collective interests.” Hunt, 432 U.S. at 345. If the individuals it claims

as members do not “participate in and guide the organization’s efforts,” then the plaintiff organization

lacks associational standing. Ass’n for Retarded Citizens of Dall. v. Dall. Cty. Mental Health & Retardation

Ctr. Bd. of Trs., 19 F.3d 241, 244 (5th Cir. 1994). None of the Entity Plaintiffs alleges facts establishing

that their purported members meet these criteria.

        Even if the Entity Plaintiffs did have members, they still could not establish associational

standing unless one of those members independently had Article III standing. See Ctr. for Biological

Diversity v. EPA, 937 F.3d 533, 536 (5th Cir. 2019); Funeral Consumers All., 695 F.3d at 344 n.9.

        “Foremost among [the Article III standing] requirements is injury in fact.” Gill v. Whitford, 138

S. Ct. 1916, 1929 (2018). But the Entity Plaintiffs have failed to “identify members who have suffered

the requisite harm.” Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009); see NAACP v. City of Kyle,


                                                      3
    Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 12 of 32



626 F.3d 233, 237 (5th Cir. 2010) (requiring an injury to “a specific member”). When a complaint fails

to identify members, associational-standing claims should be dismissed. See, e.g., Ga. Republican Party v.

SEC, 888 F.3d 1198, 1203 (11th Cir. 2018) (dismissing claim where the only member identified failed

to allege that he was injured by the challenged regulation); Draper v. Healey, 827 F.3d 1, 3 (1st Cir. 2016)

(Souter, J.) (dismissing claim where the plaintiff organization had only “submitted an affidavit asserting

that many of its members asked it to take legal action” but did not identify any injured member with

particularity); Disability Rights Wis., Inc. v. Walworth Cty. Bd. of Supervisors, 522 F.3d 796, 804 (7th Cir.

2008) (dismissing claim where the plaintiff organization had failed to allege that its standing was

derived from any identified individual that had suffered the requisite harm).

        In this case, the Entity Plaintiffs have not identified any members at all, much less injured

ones. Of course, the complaint identifies the Individual Plaintiffs, but it does not allege that they are

members of any of the Entity Plaintiffs. See ECF 1 ¶¶ 21–25. Even if the Individual Plaintiffs were

members of the Entity Plaintiffs, they could not support associational standing because the Individual

Plaintiffs lack standing for the reasons explained below. See infra Part I.B. 1

        Some of the Entity Plaintiffs also have not satisfied Hunt’s second requirement: that “the

interests [they] seek[] to protect are germane to [their] purpose[s].” 432 U.S. at 343. The American GI

Forum is “dedicated to addressing problems of discrimination and inequities endured by Hispanic

veterans.” ECF 1 ¶ 14. WCVI “conducts research” in order “to provide information relevant to the

needs of its constituents to Latino community leaders.” ECF 1 ¶ 18. TALAS’s purpose is to

“advocate[] for Latino learners’ and leaders’ growth and advancement in Texas.” ECF 1 ¶ 20. But



1 An unpublished Fifth Circuit opinion once noted that the panel was “aware of no precedent holding that an
association must set forth the name of a particular member in its complaint,” Hancock Cty. Bd. of Supervisors v.
Ruhr, 487 F. App’x 189, 198 (5th Cir. 2012), but the precedent cited above holds exactly that. In any event, even
if the Entity Plaintiffs did not have to “name names,” they would at least have to include “more specific”
allegations “identifying members who have suffered the requisite harm.” Faculty, Alumni, & Students Opposed to
Racial Preferences v. New York Univ., 11 F.4th 68, 75–76 (2d Cir. 2021).


                                                       4
    Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 13 of 32



Plaintiffs do not allege that their interest in redistricting is germane to veteran status, conducting

research, or education. The worthiness of those causes does not make the Entity Plaintiffs’ claims

“germane” to their purposes. 2

        B.       The Individual Plaintiffs Also Lack Standing

        The Individual Plaintiffs also do not allege facts to establish standing. See ECF 1 ¶¶ 21–25.

They rely on a vote-dilution theory of injury, see id. ¶ 26, but they do not allege that they intend to vote

in 2022 (or any other future election). Vote dilution, by definition, injures only those who vote. It

“arises from the particular composition of the voter’s own district, which causes his vote . . . to carry

less weight than it would carry in another, hypothetical district.” Gill, 138 S. Ct. at 1931.

        True, the Individual Plaintiffs allege that they are registered to vote, see id. ¶¶ 21–25, but a

plaintiff’s allegation that he is “a registered voter” does not suffice. DiMaio v. Democratic Nat’l Comm.,

520 F.3d 1299, 1302 (11th Cir. 2008) (per curiam). A “complaint undeniably fails the test for

constitutional standing” when the plaintiff “never allege[s] that he actually voted, nor even so much

as suggested that he intended to vote in,” the election at issue. Id.; see also Yazzie v. Hobbs, 977 F.3d

964, 967 (9th Cir. 2020) (per curiam) (dismissing for lack of standing because “any allegation or

showing as to, at a bare minimum, whether any of the plaintiffs intend to vote in this general election”

was “missing”); Gallagher v. New York State Bd. of Elections, 496 F. Supp. 3d 842, 850 (S.D.N.Y. 2020)

(holding the plaintiffs lacked standing to challenge a deadline for voting by mail when “none of them

has alleged that he or she intends to cast an absentee ballot by mail”).

        Even if the Individual Plaintiffs had plausibly alleged an intent to vote, their claims of

“statewide” harm would still fail to satisfy Article III. ECF 1 ¶ 26. Where, as here, “plaintiffs’ alleged




2 Because the Entity Plaintiffs rely exclusively on associational standing, Defendants do not address the barriers
to organizational standing, including the fact that none of the Entity Plaintiffs are themselves injured. See City
of Kyle, 626 F.3d at 236–37 (distinguishing associational and organizational standing).


                                                        5
      Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 14 of 32



harm is the dilution of their votes, that injury is district specific.” Gill, 138 S. Ct. at 1930. Because any

injury to a plaintiff “results from the boundaries of the particular district in which he resides,” any

remedy “lies in the revision of the boundaries of the individual’s own district.” Id. 3

         This is in keeping with Supreme Court precedent restricting standing to bring related

redistricting claims. In a “racial gerrymandering” case, for example, a voter does not have Article III

standing to challenge a map “in its entirety.” United States v. Hays, 515 U.S. 737, 746 (1995). Establishing

“individualized harm” requires showing that the “plaintiff resides in a racially gerrymandered district.”

Id. at 744–45. “On the other hand, where a plaintiff does not live in such a district, he or she does

not” have standing, unless there is some other basis for concluding “that the plaintiff has personally

been subjected to a racial classification.” Id. at 745; see also Sinkfield v. Kelley, 531 U.S. 28, 30 (2000) (per

curiam). Thus, “[a] racial gerrymandering claim” must proceed “district-by-district,” and courts do not

analyze the State “as an undifferentiated ‘whole.’” Ala. Legislative Black Caucus v. Alabama, 575 U.S. 254,

262 (2015); accord Bethune-Hill v. Va. State Bd. of Elections, 137 S. Ct. 788, 800 (2017).

II.      Each of Plaintiffs’ Claims Fails as a Matter of Law

         A.      The Court Should Dismiss Plaintiffs’ One-Person-One-Vote Claims

         Count 2 contains two different one-person-one-vote claims, see ECF 1 ¶¶ 109–10, but neither

should survive this motion to dismiss. First, Plaintiffs lack standing to challenge the old maps because

they have not plausibly alleged that any implementation of the old maps is “certainly impending.” Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013). Second, Plaintiffs challenge the population deviations

in the new House map, but they have not alleged any facts sufficient to overcome the presumption of

constitutionality for deviations smaller than 10%.



3Entity plaintiffs face the same restrictions. An entity plaintiff “may not step into the shoes of its members to
bring a statewide claim because its members would lack standing as individual plaintiffs to challenge the
apportionment plan on a statewide basis.” League of Women Voters of Michigan v. Johnson, No. 2:17-cv-14148, 2018
WL 10483517, at *6 (E.D. Mich. May 16, 2018) (three-judge district court).


                                                       6
   Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 15 of 32



                 1.      This Court Lacks Jurisdiction to Consider the Old Maps

        Plaintiffs first one-person-one-vote challenge is to the old maps drawn based on the 2010

census numbers. They contend that those maps are “unconstitutionally malapportioned” once the

2020 census numbers are applied. See ECF 1 ¶ 109. But Plaintiffs do not have standing to challenge

the old maps.

        The Supreme Court has “repeatedly reiterated that ‘threatened injury must be certainly impending

to constitute injury in fact,’ and that ‘[a]llegations of possible future injury’ are not sufficient.” Clapper,

568 U.S. at 409 (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 565 n. 2 (1992)). Here, Plaintiffs do not

allege that Defendants will implement the old maps in the 2022 election (or any subsequent election).

Nor could they. Plaintiffs themselves concede that the Legislature has already passed new maps

superseding the old maps. See ECF 1 ¶ 33. Plaintiffs cannot be injured by maps that will not be

implemented, and they do not allege otherwise.

                 2.      Plaintiffs Have Not Plausibly Alleged that the New House Map Violates
                         the One-Person-One-Vote Principle

        Plaintiffs also challenge the new House map’s “‘top to bottom’ deviation of 9.98%.” ECF 1

¶ 110. Instead of challenging specific districts, Plaintiffs attempt to challenge the new House map as

a whole. As explained above, Plaintiffs do not have standing to bring statewide vote-dilution

challenges. See supra Part I.B. The same rule limitation applies on the merits. As Thornburg v. Gingles

explained in the Section 2 context, a “vote dilution” inquiry “is district specific.” 478 U.S. 30, 59 n.28

(1986). Plaintiffs’ failure to identify specific districts renders their complaint deficient.

        Even if Plaintiffs could challenge the House map as a whole, that claim would fail as a matter

of law. “[W]hen drawing state and local legislative districts, jurisdictions are permitted to deviate

somewhat from perfect population equality to accommodate traditional districting objectives, among

them, preserving the integrity of political subdivisions, maintaining communities of interest, and

creating geographic compactness.” Evenwel v. Abbott, 136 S. Ct. 1120, 1124 (2016). “Where the

                                                      7
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 16 of 32



maximum population deviation between the largest and smallest district is less than 10%, the

[Supreme] Court has held, a state or local legislative map presumptively complies with the one-person,

one-vote rule.” Id.

          This rule of presumptive constitutionality means a plaintiff’s claim of an unconstitutional

deviation below 10% is “insufficient to make out a prima facie case of invidious discrimination under

the Fourteenth Amendment so as to require justification by the State.” Voinovich v. Quilter, 507 U.S.

146, 161 (1993). Plaintiffs cannot “establish a violation of the Equal Protection Clause from

population variations [below 10%] alone.” White v. Regester, 412 U.S. 755, 764 (1973). Because the

Supreme Court “ha[s] refused to require States to justify deviations of 9.9%” or smaller, “attacks on

deviations under 10% will succeed only rarely, in unusual cases.” Harris v. Ariz. Indep. Redistricting

Comm’n, 578 U.S. 253 (2016). Claims necessarily fail when “they identify no facts or law supporting an

argument that the presumption was rebutted (or even rebuttable).” Baca v. Berry, 806 F.3d 1262, 1276

(10th Cir. 2015).

          In this case, Plaintiffs include just two sentences beyond their assertion of a 9.98% differential.

Neither suffices, even at the pleading stage.

          First, Plaintiffs claim that, in the House map, the Legislature “overpopulate[ed] Latino

majority districts and underpopulated Anglo majority districts to avoid drawing new Latino majority

districts and minimize Latino voters’ opportunity to participate in the political process.” ECF 1 ¶ 110.

What Plaintiffs mean is far from clear. Defendants assume that Plaintiffs do not mean to assert that

districts that contain a Latino majority are disproportionately overpopulated statewide. In fact, data

from the Texas Legislative Council reflects that half the districts with majority Hispanic CVAP have

less than the ideal number of voters. 4 The other half have more. 5 Defendants do not understand


4   Plan Packet: H2316 at 33–37 of 63 (15 Districts: HDs 31, 34–42, 80–81, 104, 140, 145).
5   Id. (15 Districts: HDs 43, 74–75, 77–79, 116–19, 123–25, 143–44).


                                                       8
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 17 of 32



Plaintiffs to be disputing the accuracy of these publicly available numbers, which Defendants assert

are subject to judicial notice. See Fed. R. Evid. 201(b)(2). To the extent Plaintiffs dispute the numbers,

they would nevertheless need to allege which districts they contend are underpopulated or

overpopulated and which districts they contend are “Latino majority districts” or “Anglo majority

districts.” ECF 1 ¶ 110. To the extent Plaintiffs mean to suggest that districts in a particular geographic

area were over- or under-populated based on race, they have not so alleged. Plaintiffs have not carried

their burden of plausibly alleging a violation and should, at least, be required to provide “a more

definite statement” because their allegation “is so vague or ambiguous that [Defendants] cannot

reasonably prepare a response.” Fed. R. Civ. P. 12(e).

        Second, Plaintiffs assert that “[t]here is no legal justification for maintaining a deviation of

9.98% when it has such an adverse impact on Latino voting strength.” ECF 1 ¶ 110. This is not a

factual allegation taken as true at the pleading stage. It is a “conclusory” legal assertion “not entitled

to be assumed true.” Iqbal, 556 U.S. at 681. It adds nothing, except to suggest that Defendants bear

the burden of “justif[ying]” the alleged deviation. But as explained above they don’t. Instead, Plaintiffs

bear the burden of overcoming the presumption of constitutionality for deviations smaller than 10%,

and bald assertions, with nothing more, do not suffice.

        B.      The Court Should Dismiss Plaintiffs’ Section 2 Effects Claim

        Plaintiffs’ VRA claim fails as a matter of law. First, Plaintiffs have not plausibly alleged facts

establishing a violation of Section 2. Second, Plaintiffs lack a private cause of action.

                1.      Plaintiffs’ Section 2 Effects Claim Fails on the Merits

        Plaintiffs have not plausibly alleged facts establishing a violation of Section 2 on a district-by-

district basis. They do not even identify each district they want to challenge. As a result, Plaintiffs

cannot and do not allege facts necessary for Gingles’ “district specific” analysis. 478 U.S. at 59 n.28.

Instead of giving Defendants fair notice of the scope of their challenge, Plaintiffs include only a few


                                                    9
   Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 18 of 32



“example” districts. Even there, though, they do not allege facts supporting their claim.

                         a.       The Gingles Test

        Section 2 prohibits a “standard, practice, or procedure” from being “imposed or applied . . .

in a manner which results in a denial or abridgement of the right . . . to vote on account of race or

color.” 52 U.S.C. § 10301(a). To establish a violation of that provision, a plaintiff must show, “based

on the totality of circumstances,” that:

        the political processes leading to nomination or election in the State or political
        subdivision are not equally open to participation by members of a class of citizens
        protected by subsection (a) in that its members have less opportunity than other
        members of the electorate to participate in the political process and to elect
        representatives of their choice.

Id. § 10301(b). A court can consider “[t]he extent to which members of a protected class have been

elected to office in the State,” but “nothing in [Section 2] establishes a right to have members of a

protected class elected in numbers equal to their proportion in the population.” Id.

        Under Supreme Court precedent interpreting this statute, plaintiffs must establish three

“necessary preconditions”:

        (1) “the minority group must be able to demonstrate that it is sufficiently large and
        geographically compact to constitute a majority in a single-member district.”

        (2) “the minority group must be able to show that it is politically cohesive.”

        (3) “the minority must be able to demonstrate that the white majority votes sufficiently
        as a bloc to enable it—in the absence of special circumstances, such as the minority
        candidate running unopposed—usually to defeat the minority’s preferred candidate.”

Gingles, 478 U.S. at 50–51 (citation omitted); see also Growe v. Emison, 507 U.S. 25, 39–41 (1993)

(requiring “the Gingles preconditions” in “a § 2 dilution challenge to a single-member districting

scheme”).

        The Fifth Circuit “has interpreted the Gingles factors as a bright line test.” Valdespino v. Alamo

Heights Indep. Sch. Dist., 168 F.3d 848, 852 (5th Cir. 1999); accord Benavidez v. Irving Indep. Sch. Dist., 690

F. Supp. 2d 451, 456 (N.D. Tex. 2010). “Failure to establish any one of these threshold requirements


                                                      10
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 19 of 32



is fatal.” Harding v. County of Dallas, 948 F.3d 302, 308 (5th Cir. 2020) (quotation omitted). If a plaintiff

can meet “the three prongs of Gingles,” he “must establish that the ‘totality of the circumstances’

supports a finding of vote dilution.” Id. at 308–09.

        Under Gingles, the Section 2 inquiry must be “district specific.” 478 U.S. at 59 n.28. That is in

keeping with the requirement that plaintiffs establish standing on a district-specific basis. See supra Part

I.B. In this case, Plaintiffs have not alleged any facts establishing the Gingles preconditions or vote

dilution under a totality of the circumstances, either on a statewide or district-specific basis.

                         b.      Plaintiffs Have Not Alleged Facts Required by Gingles

        To meet the first Gingles precondition, a plaintiff must establish that the minority group at

issue is “sufficiently large and geographically compact to constitute a majority in a single member

district.” Gingles, 478 U.S. at 50. This test “relies on an objective, numerical test: Do minorities make

up more than 50 percent of the voting-age population in the relevant geographic area?” Bartlett v.

Strickland, 556 U.S. 1, 13, 18 (2009) (plurality op.); see also Johnson v. De Grandy, 512 U.S. 997, 1016

(1994) (refusing to “read[] the first Gingles condition in effect to define dilution as a failure to

maximize” the “number of majority-minority districts”).

        Plaintiffs’ complaint does not identify a single “relevant geographic area” where Hispanic

voters are a majority of the citizen voting-age population. Plaintiffs assert—without elaboration—that

“[t]he Latino population in Texas is sufficiently numerous and geographically compact to constitute

the majority of the CVAP in more . . . districts.” ECF 1 ¶ 87 (House); accord id. ¶ 94 (Senate); id. ¶ 97

(SBOE); id. ¶ 102 (Congress). That does not even disclose which geographic areas are at issue, much

less give Defendants “fair notice of what the claim is and the grounds upon which it rests.” Twombly,

550 U.S. at 545 (quoting Conley, 355 U.S. at 47). Such “[t]hreadbare recitals of the elements of a cause

of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Plaintiffs

have not stated a claim because they have not plausibly alleged that Latino voters could “form a


                                                     11
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 20 of 32



majority of the voters in some single-member district.” Hall v. Virginia, 385 F.3d 421, 429–30 (4th Cir.

2004) (affirming dismissal under Rule 12(b)(6)).

        The second Gingles precondition—political cohesion—“contemplates that a specified group

of voters shares common beliefs, ideals, principles, agendas, concerns, and the like such that they

generally unite behind or coalesce around particular candidates and issues.” LULAC v. Clements, 986

F.2d 728, 744 (5th Cir. 1993). “In order to satisfy the political cohesiveness precondition, the plaintiff

must show that a significant number of minority group members usually vote for the same candidate.”

Rodriguez v. Harris County, 964 F. Supp. 2d 686, 754 (S.D. Tex. 2013), aff’d sub nom. Gonzalez v. Harris

County, 601 F. App’x 255 (5th Cir. 2015) (per curiam).

        Plaintiffs do not allege any facts related to this requirement. Their cursory assertion that

“Latinos in Texas—including the areas in which Latino-majority Texas House, Texas Senate,

congressional and SBOE districts can be created—are politically cohesive” does not suffice. ECF 1

¶ 81. “[A] court may not presume bloc voting within even a single minority group.” Growe, 507 U.S.

at 41. And Plaintiffs do not allege any facts that could form the basis for such an assertion. Perhaps

more importantly, Plaintiffs fail to allege the geographic areas in which they intend to prove cohesion,

effectively refusing to proceed in the “district specific” manner Gingles requires. 478 U.S. at 59 n.28.

        The third Gingles precondition, whether white-bloc voting usually defeats Latino voters’

candidate of choice, is also based on a “district specific” inquiry. Id. But the complaint in this case

alleges no facts regarding white bloc voting. It contains a single conclusory assertion: “Anglos in Texas

vote specifically as a bloc to enable them—in the absence of special circumstances, such as a Latino

candidate running unopposed—usually to defeat the Latino voters’ preferred candidates, including

the areas in which Latino majority Texas House, Texas Senate, congressional and SBOE districts can

be created.” ECF 1 ¶ 82. That is almost a direct quote from Gingles, 478 U.S. at 51, and nothing more

than “a formulaic recitation of the” third Gingles precondition. Twombly, 550 U.S. at 555. It also fails to


                                                    12
    Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 21 of 32



address whether the alleged “failure of minority-preferred candidates to receive support from a

majority of whites on a regular basis” is due to “illegal vote dilution” or simple “political defeat.”

League of United Latin Am. Citizens, Council No. 4434 v. Clements, 999 F.2d 831, 850 (5th Cir. 1993) (en

banc). Holding that such an allegation “without more” suffices to establish “legally significant racial

bloc voting” would “loose[] § 2 from its racial tether.” Id.

         When Section 2 plaintiffs allege specific facts regarding relevant election results, the court can

evaluate whether those allegations establish white block voting. See, e.g., LULAC v. Abbott, 369 F.

Supp. 3d 768, 785 (W.D. Tex. 2019) (granting a motion to dismiss based on the third Gingles

precondition), aff’d, 951 F.3d 311 (5th Cir. 2020) (Smith, J.). Plaintiffs here should not be able to avoid

the same fate by omitting factual allegations altogether. 6

         Finally, Plaintiffs do not allege any facts to establish that a totality-of-the-circumstances inquiry

would find unlawful vote dilution here. Again, Plaintiffs include a formulaic recitation of the element,

see ECF 1 ¶ 83, but they do not allege any relevant facts provide fair notice or make vote dilution

plausible. That is independently fatal to their claim. Even if Plaintiffs had plausibly alleged the three

Gingles preconditions, that would not be “sufficient”—courts still must evaluate “the totality of

circumstances” before finding vote dilution. De Grandy, 512 U.S. at 1011. This requirement is

especially important when a plaintiff’s “challenge goes to a series of single-member districts” rather

than a multi-member districting scheme. Id. at 1012.

                           c.       Plaintiffs’ “Examples” Do Not Give Fair Notice and Fail on
                                    Their Own Terms

         Implicitly acknowledging the insufficiency of their general statewide allegations, Plaintiffs


6  In addition, Plaintiffs’ Section 2 claim should be dismissed because that provision “does not apply to
redistricting.” Abbott v. Perez, 138 S. Ct. 2305, 2335 (2018) (Thomas, J. concurring); see also Ala. Legislative Black
Caucus v. Alabama, 575 U.S. 254, 294–98 (2015) (Thomas, J., dissenting); Bartlett v. Strickland, 556 U.S. 1, 26
(2009) (Thomas, J., concurring in the judgment); Holder v. Hall, 512 U.S. 874, 892–93 (1994) (Thomas, J.,
concurring in the judgment). Although this argument is currently foreclosed by precedent, Defendants preserve
it for appeal.


                                                         13
    Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 22 of 32



include a few “examples” of areas in which they think additional Latino-majority districts should have

been drawn. These examples, however, are not exhaustive, as would be required to give Defendants

fair notice. See, e.g., ECF 1 ¶¶ 88, 104. Regardless, Plaintiffs’ examples do not include plausible

allegations of Section 2 violations.

        In the House map, Plaintiffs identify three geographic areas. First, Plaintiffs point to Harris

County, where they say that the “Latino population has increased” but that “Plan H2316 fails to add

any Latino majority House district.” ECF 1 ¶ 88. That is facially insufficient. It provides no notice of

where or how, according to Plaintiff, an additional “Latino majority House district” could have been

drawn in Harris County. There are twenty-four House districts in Harris County, so leaving

Defendants to guess as to which one(s) should have been altered is insufficient. 7

        Second, Plaintiffs allege that the new map “weakens” HD 76 by “mov[ing]” it from El Paso

County to Fort Bend County. ECF 1 ¶ 90. But Section 2 does not ask whether a district with a

particular number has the same demographic profile as a previous district with the same number.

Section 2 focuses on the ability of identified voters “to participate in the political process and to elect

representatives of their choice.” 52 U.S.C. § 10301(b). Plaintiffs do not allege that any voter previously

or currently within HD 76 has suffered vote dilution. In El Paso County, every voter lives in a district

with a majority Hispanic CVAP, and Plaintiffs do not allege otherwise. 8 Nor do Plaintiffs assert that

Fort Bend County could have had a district with majority Hispanic CVAP, much less plausibly allege

facts establishing a Section 2 violation.

        Third, Plaintiffs point to HD 118, where they contend “Latino voting strength” was


7Plan Packet: H2316 at 50 of 63, https://data.capitol.texas.gov/dataset/71af633c-21bf-42cf-ad48-4fe95593a8
97/resource/e8a63cb9-001b-4b1f-a7f8-9106cce80706/download/planh2316_map_report_package.pdf (map
showing HDs 126–135 and HDs 137–150 in Harris County).
8Plan Packet: H2316 at 35 of 63, https://data.capitol.texas.gov/dataset/71af633c-21bf-42cf-ad48-4fe95593a8
97/resource/e8a63cb9-001b-4b1f-a7f8-9106cce80706/download/planh2316_map_report_package.pdf (HDs
74–75 and HDs 77–79 with rounded HCVAPs of 77%, 90%, 86%, 66%, and 75%).


                                                    14
    Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 23 of 32



“weaken[ed]” when the Legislature “increase[ed] Latino voting strength in nearby House Districts 117

and 124.” ECF 1 ¶ 91. Again, Plaintiffs do not allege that HD 118 satisfies the Gingles requirements—

with good reason. Under the new map, HD 118 still has a majority Hispanic CVAP: 56.4%. 9 Plaintiffs

provide no reason to think that white voters, who constitute only 35.5% of HD 118, could or would

vote as a bloc to defeat Latino voters’ preferred candidates.

        At best, Plaintiffs’ theory about “weaken[ing] Latino voting strength in House District 118” is

a retrogression claim. ECF 1 ¶ 91; see City of Lockhart v. United States, 460 U.S. 125, 135 (1983) (rejecting

a retrogression claim when minority “voting strength” was unchanged). But “[r]etrogression is not the

inquiry in § 2 dilution cases.” Holder v. Hall, 512 U.S. 874, 884 (1994). Federal courts correctly “refuse

to equate a § 2 vote dilution inquiry with the § 5 retrogression standard.” Georgia v. Ashcroft, 539 U.S.

461, 478 (2003). Alleged retrogression therefore does not support Plaintiffs’ Section 2 claim. 10

        Plaintiffs cannot bring a standalone retrogression claim under Section 5 either. See Shelby County

v. Holder, 570 U.S. 529, 557 (2013). Plaintiffs nonetheless cite Section 5 in the portion of their

complaint describing their Section 2 claim. See ECF 1 ¶ 112 (citing 52 U.S.C. § 10304). To the extent

Plaintiffs bring a Section 5 claim, it should be dismissed. To the extent Plaintiffs do not bring a Section

5 claim, their allegation that Texas’s maps are “in violation of 52 U.S.C. § . . . 10304” should be

stricken as immaterial. ECF 1 ¶ 112; see Fed. R. Civ. P. 12(f) (“The court may strike from a pleading . . .

any redundant, immaterial, impertinent, or scandalous matter.”).

        For the Senate map, Plaintiffs do not allege any specific examples of vote dilution. See ECF 1

¶¶ 93–95.

        For the SBOE map, Plaintiffs point to only one district: ED 3 in South Texas. See ECF 1 ¶ 99.


9Plan Packet: H2316 at 36 of 63, https://data.capitol.texas.gov/dataset/71af633c-21bf-42cf-ad48-4fe95593a8
97/resource/e8a63cb9-001b-4b1f-a7f8-9106cce80706/download/planh2316_map_report_package.pdf.
10 For the same reasons, Plaintiffs’ other retrogression allegations are likewise irrelevant. See ECF 1 ¶¶ 89, 95,

98 (“lost voting strength”); id. ¶¶ 90, 99, 103–04 (“weakens”).


                                                       15
     Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 24 of 32



But as with HD 118, Plaintiffs do not allege that ED 3 satisfies the Gingles requirements. That is

because it continues to have a majority Hispanic CVAP: 57.8%. 11 Again, Plaintiffs provide no reason

to think that white voters, who constitute only 31.8% of ED 3, could or would vote as a bloc to defeat

Latino voters’ preferred candidates.

        For the congressional map, Plaintiffs point to two districts: CD 15 and CD 23. See ECF 1

¶ 104. Again, however, both districts continue to have majority Hispanic CVAPs: 73.8% for CD 15

and 57.8% for CD 23. 12 Plaintiffs make no attempt to allege facts showing a violation under Gingles.

They allege no reason to think white-bloc voting will be a problem in districts where the White CVAP

is only 23% and 35.1%, respectively.

                 2.       Section 2 Does Not Give Plaintiffs an Implied Private Cause of Action

        Plaintiffs’ Section 2 claim fails for an independent reason: They do not have a private cause of

action to enforce Section 2. Plaintiffs presumably believe that they have an implied cause of action,

but under modern precedent, they cannot succeed.

        The Supreme Court has never decided whether Section 2 contains an implied private cause of

action. It has often “[a]ssum[ed], for present purposes, that there exists a private right of action to

enforce” Section 2, but it has never so held. City of Mobile v. Bolden, 446 U.S. 55, 60 (1980) (plurality).

Decisions that “never squarely addressed the issue,” but “at most assumed” an answer, are not binding

“by way of stare decisis.” Brecht v. Abrahamson, 507 U.S. 619, 631 (1993); see also Cooper Indus., Inc. v. Aviall

Servs., Inc., 543 U.S. 157, 170 (2004). Thus, whether “the Voting Rights Act furnishes an implied cause

of action under § 2” is “an open question.” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2350

(2021) (Gorsuch, J., concurring).


11Plan Packet: E2106 at 13 of 25, https://data.capitol.texas.gov/dataset/ad1ae979-6df9-4322-98cf-6771cc67f0
2d/resource/335ecdc1-9fa5-47a9-8156-d8d4b6e75c60/download/plane2106_map_report_package.pdf.
12Plan Packet: C2193 at 16 of 48, https://data.capitol.texas.gov/dataset/b806b39a-4bab-4103-a66a-9c99bcaba
490/resource/54155a32-537f-4425-a951-923457c5ffce/download/planc2193_map_report_package.pdf.


                                                       16
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 25 of 32



        Answering that question requires analyzing whether Congress created a private cause of action

in Section 2, despite its failure to say so in statutory text. “[P]rivate rights of action to enforce federal

law must be created by Congress.” Alexander v. Sandoval, 532 U.S. 275, 286 (2001). “The judicial task

is to interpret the statute Congress has passed to determine whether it displays an intent to create not

just a private right but also a private remedy.” Id. Unless Congress expresses that intent, “a cause of

action does not exist and courts may not create one, no matter how desirable that might be as a policy

matter, or how compatible with the statute.” Id. at 286–87.

        To be sure, there was a time when federal courts “assumed it to be a proper judicial function

to ‘provide such remedies as are necessary to make effective’ a statute’s purpose.” Ziglar v. Abbasi, 137

S. Ct. 1843, 1855 (2017) (quoting J.I. Case Co. v. Borak, 377 U.S. 426, 433 (1964)). But that time has

passed. Since jettisoning the “ancien regime,” id. at 1855, the Supreme Court has “not returned to it.”

Sandoval, 532 U.S. at 287. As a result, courts no longer rely “on pre-Sandoval reasoning.” Stokes v. Sw.

Airlines, 887 F.3d 199, 205 (5th Cir. 2018).

        Under Sandoval, Section 2 does not confer a private cause of action on Plaintiffs. It contains

no indication of a congressional intent to create a private right, much less a private remedy.

        “Statutes that focus on the person regulated rather than the individuals protected create no

implication of an intent to confer rights on a particular class of persons.” Sandoval, 532 U.S. at 289

(quotation omitted). Section 2’s text focuses on the governmental officials it regulates, not individual

voters: “No voting qualification or prerequisite to voting or standard, practice, or procedure shall be

imposed or applied by any State or political subdivision in a manner which results in a denial or abridgement

of the right of any citizen of the United States to vote on account of race or color . . . .” 52 U.S.C.

§ 10301(a) (emphasis added). Because it “is framed in terms of the obligations imposed on the

regulated party” (government officials)—while voters are “referenced only as an object of that

obligation”—Section 2 does not create a private right. Logan v. U.S. Bank Nat’l Ass’n, 722 F.3d 1163,


                                                     17
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 26 of 32



1171 (9th Cir. 2013). Language “framed as an instruction to the regulated entity, rather than to the

person protected,” does “not indicate a congressional intent to make a remedy available to private

litigants.” Conservation Force v. Delta Air Lines, Inc., 190 F. Supp. 3d 606, 616 (N.D. Tex. 2016), aff’d, 682

F. App’x 310 (5th Cir. 2017).

        Although Section 2 refers to “the right . . . to vote,” 52 U.S.C. § 10301(a), it does not contain

any “‘rights-creating’ language.” Sandoval, 532 U.S. at 288. The underlying right to vote to which

Section 2 refers is based on state law, see Rodriguez v. Popular Democratic Party, 457 U.S. 1, 9 (1982), and

the Fifteenth Amendment. Because referring to a right is not the same as creating one, Section 2 does

not create a federal right “in [the] clear and unambiguous terms” that precedent requires. Gonzaga

Univ. v. Doe, 536 U.S. 273, 290 (2002).

        In addition, other provisions of the VRA make clear that Section 2 does not create a private

remedy. The statute authorizes civil and criminal enforcement actions by the federal government. See

52 U.S.C. § 10308. “The express provision of one method of enforcing a substantive rule suggests

that Congress intended to preclude others.” Sandoval, 532 U.S. at 290. “Courts should presume that

Congress intended that the enforcement mechanism provided in the statute be exclusive.” Alsbrook v.

City of Maumelle, 184 F.3d 999, 1011 (8th Cir. 1999) (en banc).

        To be sure, fractured opinions have suggested, in dicta, that Section 2 impliedly creates a private

cause of action. See Morse v. Republican Party of Va., 517 U.S. 186, 232–33 (1996) (minority opinion of

Stevens, J.) (quoting legislative history and discussing “a right to vote”); id. at 240 (Breyer, J.,

concurring in the judgment) (similar). But those opinions are inconsistent with the later majority

opinion in Sandoval, which limited its “search for Congress’s intent [to] the text and structure of” the

statute. 532 U.S. at 288. “[D]ecisions before Sandoval frequently implied private rights of action without

rigorous analysis; they did so by making a somewhat cursory inspection of the statute and its legislative

history.” Conservation Force, 190 F. Supp. 3d at 616, aff’d, 682 F. App’x 310 (5th Cir. 2017). They “are


                                                     18
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 27 of 32



not binding nor persuasive.” Id. Thus, courts in the Fifth Circuit refuse to rely “on pre-Sandoval

reasoning.” Stokes, 887 F.3d at 205 (quoting Conservation Force, 190 F. Supp. 3d at 616).

        That other provisions of the VRA contain implied private causes of action is irrelevant. In

Allen v. State Bd. of Elections, for example, the Supreme Court held that Section 5 of the Voting Rights

Act created a private cause of action because that provision was “passed to protect a class of citizens,”

that is, voters. 393 U.S. 544, 557 (1969). But Allen did not consider Section 2, and in determining

whether a statute creates implied causes of action, each provision must be considered separately. See,

e.g., Touche Ross & Co. v. Redington, 442 U.S. 560, 576–78 (1979) (rejecting an implied cause of action

under Section 17(a) of the Securities Exchange Act of 1934 despite Borak earlier inferring one under

Section 14(a) of the same act). In any event, the Supreme Court has rejected Allen’s loose, legislative-

history-based approach, see Sandoval, 532 U.S. at 287, even listing Allen as an example of the now-

abandoned “ancien regime,” Abbasi, 137 S. Ct. at 1855.

        In the alternative, even if Section 2 implied a private cause of action, it would apply only to

voters, not Plaintiffs here. An implied private cause of action is limited to “a particular class of

persons.” Sandoval, 532 U.S. at 289 (quoting California v. Sierra Club, 451 U.S. 287, 294 (1981)). Neither

artificial entities that cannot vote nor individuals who do not allege that they intend (or even want) to

vote are included in “any particular class of beneficiaries whose welfare Congress intended to further”

under Section 2. California, 451 U.S. at 294. They are not mentioned in the statute at all. Section 2

therefore does not confer rights on them “in clear and unambiguous terms.” Delancey v. City of Austin,

570 F.3d 590, 593 (5th Cir. 2009) (quotation omitted).

        C.      The Court Should Dismiss Plaintiffs’ Intentional-Discrimination Claims

        Plaintiffs also have not plausibly alleged their intentional-discrimination claims under the

Equal Protection Clause and Section 2. See ECF 1 ¶¶ 106, 112.




                                                   19
   Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 28 of 32



                 1.        Lack of Discriminatory Effect Precludes Intentional-Discrimination
                           Claims

        Even if Plaintiffs had plausibly alleged discriminatory intent—they did not—that would not

be enough. For the reasons explained above, Plaintiffs have failed to plausibly allege discriminatory

effect. See supra Part II.B.2. Without a discriminatory effect, Plaintiffs cannot succeed on their

intentional-discrimination claims.

        That Plaintiffs must establish discriminatory effect follows from “a familiar principle of

constitutional law that this Court will not strike down an otherwise constitutional statute on the basis

of an alleged illicit legislative motive.” United States v. O’Brien, 391 U.S. 367, 383 (1968). “[N]o case in

[the Supreme] Court has held that a legislative act may violate equal protection solely because of the

motivations of the men who voted for it.” Palmer v. Thompson, 403 U.S. 217, 224 (1971). Courts

routinely require discriminatory effect in intentional-discrimination redistricting cases. See, e.g., Shaw v.

Reno, 509 U.S. 630, 641 (1993) (“a discriminatory purpose and have the effect of diluting minority

voting strength”); Rodriguez, 964 F. Supp. 2d at 800 (“purpose and operative effect”); LULAC v. NE

Ind. Sch. Dist., 903 F. Supp. 1071, 1093 (W.D. Tex. 1995) (“intentional discrimination” and “a resultant

discriminatory effect”).

        The same is true under Section 2 of the VRA. “[T]he statute proscribes intentional

discrimination only if it has a discriminatory effect, but proscribes practices with discriminatory effect

whether or not intentional.” Chisom v. Roemer, 501 U.S. 380, 406 (1991) (Scalia, J., dissenting); accord

Turner v. Arkansas, 784 F. Supp. 553, 565 (E.D. Ark. 1991), aff’d, 504 U.S. 952 (1992). 13

                 2.        Plaintiffs Have Not Plausibly Alleged Discriminatory Intent

        Plaintiffs have not alleged facts that would allow the Court to infer a discriminatory purpose.




13 Plaintiffs’ Section 2 discriminatory-intent claim also fails because Section 2 does not create a private cause of

action. See supra Part II.B.1.


                                                        20
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 29 of 32



In redistricting cases, “the good faith of a state legislature must be presumed.” Miller v. Johnson, 515

U.S. 900, 915 (1995). It is “plaintiffs’ burden to overcome the presumption of legislative good faith

and show that the [Texas] Legislature acted with invidious intent.” Abbott v. Perez, 138 S. Ct. 2305,

2325 (2018). The required intent is not mere “volition” or “awareness of consequences.” Pers. Adm’r

of Mass. v. Feeney, 442 U.S. 256, 279 (1979). It requires that the Legislature have passed a law “‘because

of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.” Id.

        Plaintiffs have not plausibly alleged discriminatory intent here. They claim that the new maps

“discriminate against Plaintiffs on the basis of race and national origin” and that they “hav[e] the

intent . . . of canceling out or minimizing [Latino] voting strength,” ECF 1 ¶¶ 106, 112, but those

“bare assertions . . . amount to nothing more than a ‘formulaic recitation of the elements’ of a

constitutional discrimination claim.” Iqbal, 556 U.S. at 681. “As such, the allegations are conclusory

and not entitled to be assumed true,” even at the pleading stage. Id.

        At most, Plaintiffs allege three facts in an effort to show discriminatory intent, but none helps

their case. First, Plaintiffs allege “departures from normal procedures” in the passing of the new maps.

ECF 1 ¶ 62. Although “[d]epartures from the normal procedural sequence . . . might afford evidence

that improper purposes are playing a role” in government decisionmaking, Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 267 (1977), they raise no inference of “invidious discrimination”

when there is an “obvious alternative explanation.” Iqbal, 556 U.S. at 682 (quoting Twombly, 550 U.S.

at 567). Here, Plaintiffs complain that the process was too rushed. See ECF 1 ¶¶ 63, 67–80. But the

complaint itself offers a ready explanation for the complained-of exigencies: The federal census was

delayed due to the pandemic, see id. ¶ 30, and results were not delivered until “more than ten weeks

after the Texas Legislature’s 87th Regular Session adjourned sine die.” Id. ¶ 32. As a result, the

Legislature had to redistrict during a special session, which is constitutionally limited to thirty days. See

Tex. Const. art. III, § 40.


                                                     21
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 30 of 32



         Second, Plaintiffs claim to have identified “departures from the normal and required

substantive standards during the redistricting process.” ECF 1 ¶ 64. “Substantive departures . . . may

be relevant” to discriminatory intent, “particularly if the factors usually considered important by the

decisionmaker strongly favor a decision contrary to the one reached.” Vill. of Arlington Heights, 429

U.S. at 267. But not on the facts alleged here.

         Plaintiffs complain that in responding to questions posed during a hearing a single senator

described the maps as “drawn blind to race” and assert that a single representative looked at “voting

age population” rather than “citizen voting age population.” Id. ¶¶ 64–65. Plaintiffs’ theory seems to

be that those two statements are substantive departures because the Voting Rights Act requires

consideration of race and CVAP. That fundamentally misunderstands the potential relevance of

substantive departures to a discriminatory intent analysis.

         As an initial matter, saying that a decisionmaker was “blind to race” cannot be evidence that

the decisionmaker acted “‘because of,’ not merely ‘in spite of,’” race. Feeney, 442 U.S. at 279. Moreover,

even if Plaintiffs were right that two lawmakers misunderstood a federal statute, that would not

support an inference of invidious discrimination. Substantive departures—doing something a

decisionmaker would not normally do—are potentially relevant because they can reveal a hidden

motive. For example, if a local government has consistently rezoned land in a particular area to allow

higher density housing, but then inexplicably abandons that strategy when the proposed housing

would serve racial minorities, that could certainly support an inference of racial discrimination. See id.

at 279 n.17. But Plaintiffs do not allege any similar departure from previous practice for the two

lawmakers in question. Plaintiffs cannot bootstrap what they claim is confusion about the VRA—

which did not result in a violation of the VRA, see supra Part II.B.2—into an intentional-discrimination

claim.

         Third, Plaintiffs allege that opponents of the new maps “warned” the Legislature that they


                                                   22
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 31 of 32



“violated minority voting rights” but that “the Legislature did not cure the identified deficiencies.”

ECF 1 ¶ 66. Of course, legislators are not obligated to credit the opinions of a bill’s opponents. As

the Supreme Court has recognized, a bill’s “legislative opponents,” “[i]n their zeal to defeat a bill,”

“understandably tend to overstate its reach.” NLRB v. Fruit & Vegetable Packers & Warehousemen, Local

760, 377 U.S. 58, 66 (1964). In any event, alleged “awareness of consequences” does not establish

discriminatory intent. Feeney, 442 U.S. at 279. Mere awareness is “consistent with” invidious intent,

but it is “just as much in line with” other motives. Twombly, 550 U.S. at 554. Because Plaintiffs’ factual

allegations are equally consistent with the Legislature acting “in spite of” rather than “because of” the

alleged racial consequences of the redistricting maps, they have not plausibly alleged invidious

discrimination. Feeney, 442 U.S. at 279; see Twombly, 550 U.S. at 557 (explaining “[t]he need at the

pleading stage for allegations plausibly suggesting (not merely consistent with)” a legal violation).

        In the redistricting context, mere awareness of racial consequences is especially insufficient.

“[E]vidence tending to show that the legislature was aware of the racial composition of” a district “is

inadequate to establish injury in fact,” much less a violation on the merits. Hays, 515 U.S. at 745–46.

“[T]he legislature always is aware of race when it draws district lines, just as it is aware of age, economic

status, religious and political persuasion, and a variety of other demographic factors. That sort of race

consciousness does not lead inevitably to impermissible race discrimination.” Shaw v. Reno, 509 U.S.

630, 646 (1993). Here, Plaintiffs have not alleged any facts suggesting invidious racial discrimination.

                                              CONCLUSION

        Defendants respectfully request that the Court dismiss Plaintiffs’ claims. In the alternative,

Defendants move the Court to require a more definite statement in which Plaintiffs identify each

district they intend to challenge under each of their legal theories.




                                                     23
  Case 3:21-cv-00259-DCG-JES-JVB Document 12 Filed 11/15/21 Page 32 of 32



Date: November 12, 2021                   Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on November 12, 2021, and that all counsel of record were served by CM/ECF.

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                                                24
